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UNITED STATES DISTRICT COURT HJCX:&: l

 

SOUTHERN DISTRICT OF NEW YORK

  

 

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UNITED STATES oF AMERICA z Ssd;sh”;uhicTMENT
~ v. - : 19 cr. ___ _
GORDON FREEDMAN, z 19 CRM 2 4 9
Defendant. : y
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COUNTS ONE THROUGH FIFTEEN

The Grand Jury charges:

1. At all times relevant to this Indictment, GORDON
FREEDMAN, the defendant, was a doctor licensed to prescribe
controlled substances. FREEDMAN worked at and owned:a private
pain-management office on the Upper East Side of Manhattan,
among other locations, and was an Associate Clinical Professor
at a large hospital in Manhattan. §

2. From in or about 2013 through in or about May 2017,
GORDON FREEDMAN, the defendant, prescribed numerous controlled
substances, including fentanyl, hydromorphone, morphine,
oxycodone, and oxymorphone, for a particular patient (“Patient-
1”). `

3. From in or about 2013 through in or about May 2017,
GORDON FREEDMAN, the defendant, prescribed Patient-i

approximately 231,467 oxycodone pills containing a total of

approximately 7,097,185 milligrams (“mg”) of oxycodone. In 2013

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alone, FREEDMAN prescribed Patient-l approximately 85,427
oxycodone pills--an average of approximately 234 oxycbdone pills
per day~-containing a total of approximately 2,422,43% mg of
oxycodone. The vast majority of the oxycodone prescriptions
that FREEDMAN Wrote for Patient-l Were not issued for a
legitimate medical purpose in the usual course of sound
professional practice.

4. At all times relevant to this Indictment, the Food and
Drug Administration (“FDA”) has classified certain fentanyl-
based, rapid-onset opioids as Transmucosal Immediate Release
Fentanyl (“TIRF”) products. Because of the risk of misuse,
abuse, and addiction associated With TIRF products, the FDA
requires practitioners to undergo training and testing before
prescribing TIRF products for outpatient use.

5. From in or about 2013 through in or about May 2017,
GORDON FREEDMAN, the defendant, prescribed Patient-l TIRF
products containing a total of approximately 28,389,200
micrograms (“mcg”) of fentanyl. The vast majority of the
prescriptions containing fentanyl that FREEDMAN Wrote for
Patient-l Were not issued for a legitimate medical purpose in
the usual course of sound professional practice. :

6. On or about April 13, 2017, GORDON FREEDMAN, the

defendant, gave Patient-l prescriptions for approximately 150

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doses of a TIRF product containing approximately 1,600 mcg of
fentanyl per dose (“TIRF Product-l”), and for approxikately 950
oxycodone pills containing approximately 30 mg of oxycodone per
pill. On or about May 4, 2017, Patient-l died of a fentanyl
overdose after ingesting a quantity of TIRF Product-li
Statutory Allegations

7. On or about the dates set forth in the chart in
paragraph 8 below, in the Southern District of New York and
elsewhere, GORDON FREEDMAN, the defendant, intentionally and
knowingly distributed and possessed with intent to distribute
controlled substances, in violation of Title 21, Unitsd States
Code, Section 841(a)(1).

8. The controlled substances involved in the offenses
were quantities of mixtures and substances containing a

detectable amount of the controlled substances set forth in the

chart below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

.Coun€ _ y Approximate Date ‘ Y_§fontrolled:$ubstanéeid
0ne d May 5, 2014 Fentanyl
Oxycodone
Two June 11, 2014 Fentanyl
Oxycodone§
Three August 13, 2014 Fentanyl
Oxycodone
Four September 8, 2014 Fentanyl
Oxycodone
Five October 28, 2014 Fentanyl
Oxycodone}

 

 

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Count Approximat§tDate Controlle§»$ubstance
Six January 2, 2015 Fentanyl
Oxycodone.
Seven July 24, 2015 Fentanyl ‘
' Oxycodone§
Eight September 17, 2015 Fentanyl
Oxycodone:
Nine September 28, 2015 Fentanyl jj
Oxycodone:
Ten November 30, 2015 Fentanyl
Oxycodone
Eleven March 24, 2016 Fentanyl
Oxycodone:
Twelve July 18, 2016 Fentanyl l
Oxycodone_
Thirteen August 8, 2016 Fentanyl
Oxycodone
Fourteen November 9, 2016 Fentanyl
Oxycodone.
Oxymorphone
Fifteen March 27, 2017 Fentanyl
Morphine
Oxycodone

 

 

 

(Title 21, United States Code, Sections 812, 841(a)(1), and
(b)(l)(C); Title 18, United States Code, Section 2.)

COUNT S IXTEEN

The Grand Jury further charges:

9.

The allegations set forth in paragraphs l through 6 of

this Indictment are repeated and realleged as if fully set forth

herein.

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On or about April 13, 2017, in the Southern District

of New York and elsewhere, GORDON FREEDMAN, the defendant,

 

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intentionally and knowingly distributed and possessed with
intent to distribute controlled substances, in violation of
Title 21, United States Code, Section 841(a)(1).

11. The controlled substances involved in the offense were
(i) a quantity of mixtures and substances containing a
detectable amount of fentanyl, and (ii) a quantity of mixtures
and substances containing a detectable amount of oxycodone, in
violation of Title 21, United States Code, 5ection 841(b)(1)(C).

12. The use of one such controlled substance--to wit,
fentanyl--resulted in Patient-l's death in New York, New York,
on or about May 4, 2017,

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(Title 21, United States Code, Section 812, 841(a)(1), and
(b)(l)(C); Title 18, United States Code, Section 2.)

FORFEITURE ALLEGATIONS

 

13. As a result of committing the offenses alleged in
Counts One through Sixteen of this Indictment, GORDON:FREEDMAN,
the defendant, shall forfeit to the United States, pursuant to
Title 21, United States Code, Section 853, any and all property
constituting, or derived from, any proceeds obtained, directly
or indirectly, as a result of said offenses and any and all
property used, or intended to be used, in any manner or part, to

commit, or to facilitate the commission of, said offenses,

including but not limited to a sum of money in United States

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currency representing the amount of proceeds traceable to the
commission of said offenses,

Substitute Assets Provision

 

14. If any of the above-described forfeitable property, as
a result of any act or omission of GORDON FREEDMAN, the
defendant:
a. cannot be located upon the exercise of due
diligence; ’

b. has been transferred or sold to, or deposited

with, a third person;

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c. has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in salue; or

e. has been commingled with other property which

cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p), to seek forfeiture of any
other property of the defendant up to the value of the above

forfeitable property.

(Title 21, United States Code, Section 853.)

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Foreperson GEOFFREY S. BE
United States Attorney

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Form NO. USA-33S-274 (Ed. 9-25-58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
v.
GORDON FREEDMAN,

Defendant.

 

INDICTMENT
19 Cr.

(21 U.S.C. §§ 812, 84l(a

GEOFFREY S. BERMAN
United States Attorney ‘

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